Case 2:17-cv-01836-.]AD-N.]K Document 1-1 Filed 07/05/17 Page 1 of 12

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CLARK CO‘UNTY, NEVADA Steven D. Glrierson
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DEcLARATloN oF sEvacE M 7 .;',,, 7 ’_ m _'
DANIEL T. ROBERTS Case No :A-17»754609
Plaintiff/Petitioner,

vs.
AMERICAN FAMILY INSURANCE COMPANY

Defendant/Respondent, J
STATE OF NEVADA
COUNTY OF CLARK ss.:

SUMMONS (2 copies); COMPLAINT (2 copies); $30.00 CHECK MADE PAYABLE TO NEVADA DIVISION
OF INSURANCE Received by NOW! Services, Inc. on 06/02/2017 with instructions to serve AMERICAN FAMILY
INSURANCE COMPANY c/o Nevada Division of Insurance at 3300 W., Sahara Ave., Stco 275, Las Vegas,
NV89102.

I, Eddie Guzman, being duly sworn says: That at all times herein affiant was and is a citizen of the Unitcd States, over
18 years of age, not a party to or interested in the proceeding in which this affidavit is made.

l am authorized to serve this process in the circuit/county it was served in.

On 06/05/2017 at 12:07 PM, I served the within SUMMONS (2 copies); COMPLAINT (2 copies); $30..00 CHECK
MADE PAYABLE TO NEVADA DIVISION OF INSURANCE on AMERICAN FAMILY INSURANCE
COMPANY c/o Nevada Division of Insurance at 3300 W. Sahara Ave., Ste. 275, Las Vegas, NV89102 in the
manner indicated below:

SUITABLE AGE: By delivering thereat a true copy of each to Tanishia Brown, Authorized Employee authorized to
accept service on behalf of AMERICAN FAMILY INSURANCE COMPANY c/o Nevada Division of Insurance,, a
person of suitable age and discretion. Said premises is AMERICAN FAMILY INSURANCE COMPANY c/o
Nevada Division of Insurance‘s usual place of business within the state.

A description of the Recipient, or other person served on behalf of the Recipient is as follows:

 

 

 

 

 

 

 

 

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l declare under penalty of perjury under the laws of the State of Nevada that the foregong is true and correct

g X_é§§$@§/_%MQ___' ’ §
Executed this of jun g , 2011 Eddie Guzman /
License#: NVPILB#13 1

No Notary is required per NRS 53.045. NOW! Services, Inc.

3210 W. Charleston Blvd., Ste. 3

Las Vegas,NVS9102
-1-16592-1-

 

 

 

 

 

(702) 669-737 8
Atty File#:

 

 

Case Number: A-17-754609-C

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LLOYD W. BAKER, ESQ. §
Nevada Bal' No.: 6893 ge. n ll
KEVIN LAZAR, ESQ. CW;“ i`

Nevada Bar No.: 9610 cLERK oF THE couRT
BAKER LAW OFFICES

500 S. Eighth Street

Las Vegas, NV 89101

Telephone: (702) 360-4949

Facsimile: (702) 360-3234
Attorneys for Plaintiff

DIS'I`RIC'I` COURT

CLARK COUNTY, NEVA.DA

DANIEL T. ROBERTS, an individual, Case NO.: A“ l 7 _ 7 5 4 6 0 9 _ C
Dept. NO.: V 1 1 1

Plaintiff,
COMPLAINT
V.

AMERICAN FAMILY MUTUAL
INSURANCE COMPANY, a Wisconsin
corporation; and DOES 1 through X, and
ROE CORPORATIONS 1 through X,
inclusive,

 

Defendants.

 

COMES NOW Plaintiff, DANIEL T. ROBERTS, by and through his attorneys of

record, BAKER LAW OFFICES, and complains and alleges as follows:

GENERAL ALLEGATIONS

1. Plaintiff, DANIEL T. ROBERTS, (hereinafter referred to as “Plaintifi”) is, and
Was at a11 times mentioned herein, a resident of Clark County, Nevada.

2. Defendant, AMERICAN FAMILY MUTUAL INSURANCE COMPANY,
(hereinafter referred to as “AMERICAN FAMILY”) is, and Was at all times mentioned herein,
a Wisconsin corporation authorized to do business in Clark County, Nevada.

3. That all the facts and circumstances that give rise to the subject lawsuit occurred
in the County of Clark, State ofNeVada.

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Page 1 of 10

 

 

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4. The true names and capacities of Defendants named herein as DOES 1 through
X and ROE CORPORATIONS Ithrough X, inclusive9 whether individual, corporate, associate
or otherwise, are presently unknown to Plaintiff who therefore sues said Defendants by such
fictitious names. Plaintiff is informed and believes and thereon alleges that each of the
Defendants so designated is responsible in some manner for the events and occurrences alleged
herein, and Plaintiff will ask leave of the Court to amend this Complaint to insert the true
names and capacities of DOES 1 through X and/or ROE CORPCRATIONS 1 through X
inclusive, when the same have been ascertained and to join such Defendants in this action.

5. At all material times, Defendants, and each of them, were individuals and/or
entities who were, and are agents, masters, servants, employers, employees, owners, managers,
joint venturers, representatives and/or business associates with respect to the other named
Defendants, and with respect to each other, and Were residents, doing business and/or acting
within the course and scope of the insurance authority in Clark County, Nevada, as such agents,
masters, servants, employers, employees, owners, managers, joint ventures, representatives
and/or business associates, and with the consent knowledge, authorization, ratification, and
permission of each other.

6. At all times relevant hereto, Defendants, and each of them, were responsible for
the acts and omissions of themselves and each other Defendant and held a special relationship
with the other Defendants and with others, non-delegable in nature, and subject to peculiar and
high risk for a breach thereof

7. On or about December 3, 20139 Plaintiff was driving his vehicle eastbound on
Desert 1nn near the intersection with Rainbow Blvd, in Las Vegas, Nevada.

8. On or about the same date and time, Lusine Ghzanchyan (hereinafter referred
to as “Ghzanchyan”) was driving a vehicle behind Plaintiff. Ghzanchyan failed to slow or stop
the vehicle, and rear-ended Plaintiff’ s Vehicle.

9. As a direct and proximate result of Ghzanchyan’s negligent operation of her
vehicle, she caused a traffic collision With Plaintiff, resulting in severe injuries to Plaintiff’s

body.
Page 2 of 10

 

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lO. At all relevant times, Ghzanchyan’s liability insurance coverage through State
Farm Insurance was Twenty Five Thousand Dollai's ($25,000.00) per person, per occurrence

ll. At all relevant times, Defendant AMERICAN FAMILY was aware that
Ghzanchyan’s liability insurance through State Farm Insurance was Twenty Five Thousand
Dollars ($25,000.00) per person, per occurrence

12. At all relevant times, Plaintiff was covered under an automobile insurance
policy with Defendant AMERICAN FAMILY, which was in effect on or about December 03,
2013, which included, among other coverages, liability, collision, and under-insured motorist
coverage

13. At all relevant times, Defendant AMERICAN FAMILY identified the
insurance contract that covered Plaintiff as claim number 00-225-»055031-1323.

14. On or about January 9, 2014, Plaintiff provided Defendant AMERICAN
FAMILY with notice of Plaintiff’s claim and a request for Plaintiff’ s pertinent policy
information

15. On or about June 30, 2016, Plaintiff provided Defendant AMERICAN
FAMILY with all of Plaintiff s pertinent medical records from the above-referenced auto
accident, including numerous radiographs evidencing objective injury to the Plaintiff, and an
accounting of Plaintiffs medical bills related to the subject motor vehicle accident, and
demanded his under-insured policy limits in the amount of One Million Dollars
($1,000,000.00) from Defendant AMERICAN FAMILY.

16. The demand sent on June 30, 2016 provided medical evidence that the Plaintiff
suffered severe and debilitating injury from the subject motor vehicle accident.

17. That because of the subject motor vehicle accident, Plaintiff was required to
undergo C4-5 spinal fusion surgery with implementation of hardware which was performed
by Dr. William S. Muir, M.D. on or about December 21, 2015.

18. That the June 30, 2016 demand also provided Defendant AMERICAN
FAMILY with a life care plan prepared by Dr. William Muir, regarding Plaintiffs expected

future treatment and medication needs, and the anticipated costs of the same.
Page 3 of 10

 

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19. That in the life care plan, prepared on June 29, 2016, Dr. Muir opined that
Plaintiff will most likely require an additional surgical fusion at C3 -4 in the future because of
already present disc bulging/protrusion, and adjacent forces

20. That Dr. Muir opined in the life care plan that Plaintiff’ s future medical needs
because of the injuries he suffered from this accident will total $315,772.00.

21. That Plaintiff s already incurred medical bills because of this motor vehicle
accident total $166,218.40.

22. That Plaintiff continues to suffer pain and injury from the subject motor vehicle
accident, and will continue to need future medical care and treatment

23. That because of Ghzanchyan’ s negligence Ghzanchyan’s liability insurance
carrier, State Faim Insurance, paid Plaintiff Ghzanchyan’s liability policy limits in the amount
of Twenty-Five Thousand Dollars ($25,000.00).

24. That despite demand for the same with ample supporting medical evidence and
bills, Defendant AMERICAN FAMILY has refused and continues to refuse to pay Plaintiff
the policy limits of the under-insured motorist provision of the insurance policy.

25 . That despite specific written requests from Plaintiff, Defendant AMERICAN
FAMILY has failed to provide Plaintiff with the pertinent policy documentation

26. That Plaintiff established legal entitlement to the under-insured motorist
pi'oceeds, but despite the same, Defendant AMERICAN FAMILY has refused and continues
to refuse to provide Plaintiff with the applicable under-insured policy limits

27. That Defendant AMERICAN FAMILY’s conduct regarding its obligation to
Plaintiff, its insured, has been unreasonable

28. That Defendant AMERICAN FAMILY has breached its contract with Plaintiff
by failing to honor the terms of the under-insured motorist provision in the applicable insurance
policy.

29. That Defendant AMERICAN FAMILY has acted in bad faith in relation to its
obligations to Plaintiff, and that Plaintiff has suffered harm because of the bad faith.

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30. Defendant AMERICAN FAMILY has failed and/or refused to respond to
Plaintiff" s communications

31. Defendant AMERICAN FAMILY has improperly delayed investigations
related to Plaintiffs claim, and only requested Plaintiff" s prior medical records on July 29,
2016, more than two (2) years after being put on notice of Plaintiffs claim.

32. Defendant AMERICAN FAMILY has failed to confirm or deny Plaintiff"s
coverage under the policy.

33. Defendant AMERICAN FAMILY has failed to settle Plaintiff’s claim
promptly, even after Defendant AMERICAN FAMILY’s liability became reasonably clear.

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Plaintiff a fair amount for his claim, even though it is clear that a legal suit filed by Plaintiff
would settle for a similar amount

35. On or about July 29, 2016, Defendant AMERICAN FAMILY, for the first time,
requested in a letter to be provided with three (3) years of Plaintiff’ s prior medical records

36. 1n that July 29, 2016 letter, Defendant AMERICAN FAMILY also stated that
subsequent to receiving the requested three (3) years of Plaintiff’s prior medical records,
Defendant AMERICAN FAMILY would seek to complete an independent medical
examination of Plaintiff to determine the demand for future life care.

37. That Defendant AMERICAN FAMILY’s requests in the letter dated July 29,
2016, Were made for the first time over thirty (30) months after Plaintiff made Defendant
AMERICAN FAMILY aware of his claim and injury related to this accident.

38. As a result of Defendant AMERICAN FAMILY’s intentional, negligent,
malicious and/or oppressive denial of Plaintiff’ s demand for his under insured policy limits,
Plaintiff has suffered severe hardships related to the costs he has incurred for the subject
accident,

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FIRST CAUSE OF ACTION
(Breach of Contract)

39. Plaintiff repeats and realleges the allegations in Paragraphs 1 through 38 above,
as though set forth fully herein.

40. Defendant AMERICAN FAMILY, and each of the Defendants, entered into a
contract with Plaintiff, or for the benefit of Plaintiff, wherein they agreed to provide insurance
coverage, including, but not limited to, underinsured motorist coverage, to Plaintiff.

41. That at all relevant times, Plaintiff was insured under an automobile insurance
contract with Defendant AMERICAN FAMILY, and each of the Defendants.

42. Defendant AMERICAN FAMlLY, and each of the Defendants, breached said
contract by wrongfully denying payment to Plaintiff under his under insured motorist coverage

43. As a direct and proximate result of Defendant AMERICAN FAMILY’s breach
of contract, Plaintiff has incurred expenses and damages in excess of Ten Thousand Dollars
($10,000.00).

44. That Plaintiff has been required to engage the services of an attorney to litigate
this action and he is therefore entitled to recover from Defendant AMERICAN FAMILY,

reasonable attorney’s fees, interest, and costs of suit.

SECOND CAUSE OF ACTION
(Unfair Insurance Practices)

45. Plaintiff repeats and realleges the allegations in Paragraphs 1 through 44 above,
as though set forth fully herein.

46. Plaintiff has respectfully requested this matter be settled for a fair amount,
which Defendant AMERICAN FAMILY refused, thereby forcing Plaintiff to file this
complaint

47. That Defendant AMERICAN FAMILY unfairly failed to recognize and honor
the mandates of NRS 687B.145(2) by failing to pay benefits to fully compensate Plaintiff for

his injuries as a result of the accident caused by an under insured, at-fault motorist

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48. ”l`hat at all relevant times there exists in the State of Nevada the following
statute in pertinent part:
NRS 686A.310 Unfair practices in settling claims; liability of insurer for damages

l. Engaging in any of the following activities is considered to be an unfair
practice

e) Failing to effectuate prompt, fair and equitable settlements of claims in
which liability of the insurer has become reasonably clear.

f) Compelling insureds to institute litigation to recover amounts due under an
insurance policy by offering substantially less than the amounts ultimately
recovered in actions brought by such insureds when the insureds have made
claims for amounts reasonably similar to the amounts ultimately recovered

l) Failing to settle claims promptly, where liability has become reasonably
clear, under on portion of the insurance policy coverage in order to influence
settlements under other portions of the insurance policy coverage

2. In addition to any rights or remedies available to the Commissioner, an insurer
is liable to its insured for any damages sustained by the insured as a result of
the commission of any act set for in subsection l as an unfair practice

49. That Defendant AMERICAN FAMILY has failed to provide reasonable basis
for its denial of Plaintiffs claim under his under-insured motorist policy, despite repeated
requests That such action constitutes a derogation of NRS 686A.310 in that it is dilatory,
unfair, and inequitable

5 O. That Defendant AMERICAN FAMILY committed unfair insurance practices
by failing to recognize and pay the value of the claim in a mutually consensual, prompt, fair,
and efficient manner and has forced Plaintiff to institute litigation to obtain money due under
the policy.

51. That Defendant AMERICAN FAMILY’s inactions and wrongful denial of
Plaintiff s claim under his under insured motorist policy constitute unfair insurance practices
as set forth under the Unfair Insurance Practices Act of Nevada.

52_ That such actions by Defendant AMERICAN FAMILY were willfiil, wanton,
and malicious That as a proximate result of the willful, wanton, and malicious unfair insurance
practices of Defendant AMERICAN FAMILY, Plaintiff has suffered damages in excess of Ten

Thousand Dollars ($10,000.00).
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5 3. That Plaintiff has been required to engage the services of an attorney to litigate
this action and he is therefore entitled to recover from Defendant AMERICAN FAMILY
reasonable attorney’s fees interest and costs of suit

THIRD CAUSE OF ACTION

(Contractual Breach of Implied Covenant of Good Faith and Fair Dealing)

54. Plaintiff repeats and realleges the allegations in Paragraphs 1 through 53
above, as though set forth fully herein,

55. Implied in every contract in the State of Nevada is a covenant of good faith
and fair dealing that requires the parties to act fairly and in good faith with each other.,

56. AMERICAN FAMILY breached its duty of good faith and fair dealing by,
among other things refusing Plaintiff full compensation due under the
uninsured/underinsured coverage provisions of Plaintiff’ s policy.

57. Plaintiff has been damaged by AMERICAN FAMILY’S breach of the implied
covenant of good faith and fair dealing in a sum in excess of $10,000.

58. That Plaintiff has been required to engage the services of an attorney to
litigate this action and he is therefore entitled to recover from Defendant AMERICAN
FAMILY reasonable attorney’s fees interest and costs of suit

FOURTH CAUSE OF ACTION
(Tortious Breach of Implied Covenant of Good Faith and Fair Dealing)

5 9. Plaintiff repeats and realleges the allegations in Paragraphs l through 58
above, as though set forth fully herein.

60. Implied in every contract in the State of Nevada is a covenant of good faith
and fair dealing that requires the parties to act fairly and in good faith with each other.

61. AMERICAN FAMILY owed a duty of good faith and fair dealing to Plaintiff.

62. There was a special element of reliance between Plaintiff and AMERICAN
FAMILY where AMERICAN FAMILY was in a superior or entrusted position.

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63. AMERlCAN FAMlLY breached its duty of good faith and fair dealing by,
among other things refusing Plaintiff full compensation due under the
uninsured/underinsured coverage provisions of Plaintiff’ s policy.

64. Plaintiff’ s justified expectations were denied by AMERICAN FAMILY.

65. Plaintiff has been damaged by AMERICAN FAMILY’S breach of the implied
covenant of good faith and fair dealing in a sum in excess of $10,000.

66. As AMERICAN FAMILY’S tortious breach of the implied covenant of good
faith and fair dealing was oppressive fraudulent and/or malicious Plaintiff is entitled to
punitive and/or exemplary damages

67. That Plaintiff has been required to engage the services of an attorney to
litigate this action and he is therefore entitled to recover from Defendant AMERICAN
FAMILY reasonable attorney’s fees interest and costs of suit.

FIFTH CAUSE OF ACTION
(Declaratory Relief)

68. Plaintiff repeats and realleges each and every allegation contained in paragraphs
l through 67 as though set forth fully herein.

69. Under Nev. Rev. Stat. § 30.010 et seq., the Uniform Declaratory Judgment Act
any person interested under a written contract or other writings constituting a contract or whose
rights status or other legal relations are affected by a contract may have determined any
questions of construction or validity arising under the contract and obtain a declaration of rights
status or other legal relations thereunder

70. A justiciable controversy exists as Plaintiff has asserted claims of right to
indemnification for his losses from Defendant AMERICAN FAMILY, and Defendant
AMERICAN FAMILY has an interest contesting Plaintiff"s claims of right

71. Plaintiff has a legally-protectable interest in the controversy, i.e, his right to
indemnification from Defendant AMERICAN FAMILY.

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72. The issue involved in the controversy is ripe for judicial determination because
there is Substantial controversy, among parties having adverse legal interests of Sufficient
immediacy and reality to warrant the issuance of a declaratory judgment

73. Accordingly, Plaintiff requests a declaratory judgment that Defendant
AMERICAN FAMlLY owes him a duty to indemnify him on his uninsured/undeiinsured claim.

74. Plaintiff has been required to retain the services of counsel to prosecute this

matter, and, as such, are entitled to an award of costs and reasonable attorneys’ fees incurred

herein

WHEREFORE, Plaintiff demands judgment against Defendants, and each of them, as
follows:

1. Special damages in an amount in excess of $ 10,000.00;

2. General damages in an amount in excess of $10,000.00;

3. Prejudgment interest on awarded damages

4. Punitive and/or exemplary damages

5. A declaratory judgment
6. Attorney’s fees and costs incurred herein; and
7. Such further relief as the Court may deem just and proper.

DATED this 26th day Opri~ii, 2017.
BAKER LAW oFFiCEs

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